     Case: 1:17-cv-00937 Document #: 30 Filed: 03/15/17 Page 1 of 1 PageID #:518

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Scientel Solutions, LLC
                                  Plaintiff,
v.                                                    Case No.: 1:17−cv−00937
                                                      Honorable Joan B. Gottschall
Richard Seiff
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 15, 2017:


        MINUTE entry before the Honorable Joan B. Gottschall: Status hearing held.
Counsel for plaintiff appeared telephonically. Defendant has filed an answer and
counterclaim. The briefing schedule on defendants motion to dismiss counts III, IV and V
shall stand. The parties are working on an informal discovery protocol for the image of
Seiff's hard drive. No other discovery is anticipated until the court has ruled on the motion
to dismiss. The court will set the next status date when it rules on the motion to dismiss.
Mailed notice(mjc, )




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